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AO 245B-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case


                                   United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                     v.                                                 (For Offenses Committed On or After November 1, 1987)
              JONATHAN AUSTIN                                           Case Number: 2:11CR00276 -04


                                                                        CLYDE M. BLACKMON, ESQ.
                                                                        Defendant’s Attorney

THE DEFENDANT:
[U]      pleaded guilty to count: 2 of the Indictment .

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:
                                                                                           Date Offense          Count
Title & Section                     Nature of Offense                                      Concluded             Number
21 USC 841(a)(1)                    MANUFACTURE AT LEAST 1,000                             6/21/2011             2
                                    MARIJUANA PLANTS (Class B Felony)



       The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.


[U]      Count 1 of the Indictment is dismissed on motion of the United States as to this defendant.

                           [U]      Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
attorney of material changes in economic circumstances.

                                                                                           10/7/2014
                                                                Date of Imposition of Judgment

                                                                /s/ John A. Mendez
                                                                Signature of Judicial Officer

                                                                JOHN A. MENDEZ, United States District Judge
                                                                Name & Title of Judicial Officer

                                                                10/10/2014
                                                                Date
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AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:              2:11CR00276 -04                                                                Judgment - Page 2 of 6
DEFENDANT:                JONATHAN AUSTIN


                                                         IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term
of TIME SERVED .



[]      No TSR: Defendant shall cooperate in the collection of DNA.

[]      The court makes the following recommendations to the Bureau of Prisons:



[]      The defendant is remanded to the custody of the United States Marshal.


[]      The defendant shall surrender to the United States Marshal for this district.
        [ ] at     on     .
        [ ] as notified by the United States Marshal.


[]      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [ ] before on        .
        [ ] as notified by the United States Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no such institution has been designated, to the United States Marshal for this district.

                                                               RETURN
I have executed this judgment as follows:




        Defendant delivered on                                      to

at                                          , w ith a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL



                                                                                         By
                                                                                                 Deputy U.S. Marshal
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AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
CASE NUMBER:                2:11CR00276 -04                                                                           Judgment - Page 3 of 6
DEFENDANT:                  JONATHAN AUSTIN


                                                 SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 48 MONTHS .


The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

[U]      The above drug testing condition is suspended based on the court's determination that the defendant pos es a low risk of
         future substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
         applicable.)

[U]      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901,
         et seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he
         or she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation offic er in a manner and frequency directed by the court or probation officer;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
      the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
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AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
CASE NUMBER:               2:11CR00276 -04                                                          Judgment - Page 4 of 6
DEFENDANT:                 JONATHAN AUSTIN


                                 SPECIAL CONDITIONS OF SUPERVISION
         1.   The defendant shall submit to the search of his person, property, home, and vehicle by a United
              States probation officer, or any other authorized person under the immediate and personal
              supervision of the probation officer, based upon reasonable suspicion, without a search warrant.
              Failure to submit to a search may be grounds for revocation. The defendant shall warn any other
              residents that the premises may be subject to searches pursuant to this condition.

         2.   The defendant shall provide the probation officer with access to any requested financial
              information.

         3.   The defendant shall register, as required in the jurisdiction in which he resides, as a drug
              offender.

         4.   The defendant shall cooperate in the collection of DNA as directed by the probation officer and
              shall comply with the standard conditions which have been recommended by the United States
              Sentencing Commission and adopted by this Court.

         5.   As directed by the probation officer, the defendant shall participate in a co-payment plan for
              treatment or testing and shall make payment directly to the vendor under contract with the U.S.
              Probation Office of up to $25 per month.
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AO 245B-CAED (Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  2:11CR00276 -04                                                                            Judgment - Page 5 of 6
DEFENDANT:                    JONATHAN AUSTIN


                                          CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                    Assessment                           Fine                   Restitution
       Totals:                                         $ 100                              $                         $


[]     The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determination.

[]     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
       specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i),
       all nonfederal victims must be paid before the United States is paid.



Name of Payee                                       Total Loss*                   Restitution Ordered Priority or Percentage


       TOTALS:                                           $                               $




[]     Restitution amount ordered pursuant to plea agreement $

[]     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
       before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet
       6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[ ]       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       [ ] The interest requirement is waived for the                  [ ] fine          [ ] restitution

       [ ] The interest requirement for the                  [ ] fine [ ] restitution is modified as follows:




[]     If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter
       and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.

[]     If incarcerated, payment of restitution is due during imprisonment at the rate of not less than $25 per quarter
       and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.




  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
committed on or after September 13, 1994, but before April 23, 1996.
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AO 245B-CAED (Rev. 09/2011) Sheet 6 - Schedule of Payments
CASE NUMBER:                 2:11CR00276 -04                                                                            Judgment - Page 6 of 6
DEFENDANT:                   JONATHAN AUSTIN

                                                 SCHEDULE OF PAYMENTS


     Payment of the total fine and other criminal monetary penalties shall be due as follows:

A    [ ] Lump sum payment of $              due immediately, balance due

           []      not later than  , or
           []      in accordance with            [ ] C,      [ ] D,   [ ] E, or   [ ] F below; or

B    [U]           Payment to begin immediately (may be combined with             [ ] C,   [ ] D, or [ ] F below); or

C    [ ] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of                (e.g., months or years),
         to commence     (e.g., 30 or 60 days) after the date of this judgment; or

D    [ ] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of (e.g., months or years),
         to commence     (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E    [ ] Payment during the term of supervised release will commence within         (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time;
         or

F    [ ] Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau
of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[]   Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:



[]   The defendant shall pay the cost of prosecution.

[]   The defendant shall pay the following court cost(s):

[]   The defendant shall forfeit the defendant’s interest in the following property to the United States:
